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                                                                CLERK OF STATE COURT
                                                             DOUGHERTY COUNTY, GEORGIA
                                                             STSV2022000228
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                                                                                              CLERK OF STATE COURT
                                                                                           DOUGHERTY COUNTY, GEORGIA
                                                                                          STSV2022000228
                          IN THE STATE COURT OF DOUGHERTY COUNTY                                      JMS
                                      STATE OF GEORGIA                                       MAY 05, 2022 11:28 AM


    TRAVIS TUCK,                           )
         Plaintiff,                        )       CIVIL ACTION
                                           )
    vs.                                    )       FILE NO.: _______________
                                           )
    JOEY SANDERS and                       )
    ALBANY AND ALABAMA                     )
    INDUSTRIES, INC.                       )       JURY TRIAL DEMANDED
          Defendants.                      )

                                      COMPLAINT FOR DAMAGES

            COMES NOW Plaintiff, Travis Tuck, and makes and files this Complaint for Damages

    against Defendants Joey Sanders and Albany and Alabama Industries, Inc. as follows:

                                      PARTIES AND JURISDICTION

                                                      1.

            Plaintiff is a citizen of the State of Florida and by bringing this action, subjects himself to

    the jurisdiction of this court.

                                                      2.

            Defendant Joey Sanders (hereinafter “Defendant Sanders”) is domiciled in Georgia and is

    subject to the jurisdiction of this Court for the reason that Defendant Albany and Alabama

    Industries, Inc. is located in Dougherty County, Georgia. Defendant may be served with process

    at 192 Herring Road, Sylvester, Worth County, Georgia 31791.

                                                      3.

            Defendant Joey Sanders is subject to the jurisdiction of this court.

                                                      4.

            Defendant Joey Sanders has been properly served with process in this action.
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                                                      5.

            Defendant Albany and Alabama Industries, Inc. is a domestic corporation existing under

    the laws of the state of Georgia and may be served through its registered agent, Rodney Scott

    Ricks, at 204 Byron Plantation Road, Albany, Dougherty County, Georgia 31721.

                                                      6.

            Defendant Albany and Alabama Industries, Inc. is subject to the jurisdiction of this court.

                                                      7.

            Defendant Albany and Alabama Industries, Inc. has been properly served with process in

    this action.

                                             BACKGROUND

                                                      8.

            On or about June 10, 2021, Plaintiff Travis Tuck was operating his 2015 Audi A2 in a

    prudent and careful manner and was turning onto N Slappey Blvd in Dougherty County, Georgia.

                                                      9.

            On the above-mentioned date and time, Defendant Sanders was operating a 2007 Chevrolet

    Express Van owned by Defendant Albany and Alabama Industries, Inc., and was traveling through

    the intersection of Liberty Expressway and N Slappey Blvd in Dougherty County, Georgia, when he

    negligently, recklessly, carelessly and unlawfully ran a red light, causing his vehicle to collide with

    Plaintiff’s vehicle.




                                                     10.
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           On the above-mentioned date and time, Defendant Sanders was an agent or employee of

    Defendant Albany and Alabama Industries, Inc. and working within the scope of his employment.

                                                    11.

           On the above-mentioned date and time, Defendant Sanders was operating the 2007

    Chevrolet Express Van on behalf of Defendant Albany and Alabama Industries, Inc..

                                                    12.

           At the time of the incident, Defendant Sanders had Defendant Albany and Alabama

    Industries, Inc.’s express or implied permission to operate the 2007 Chevrolet Express Van on

    behalf of Defendant Albany and Alabama Industries, Inc..

                                                    13.

           Defendant Albany and Alabama Industries, Inc. should have been aware of Defendant

    Sanders’s unsafe driving habits.

                                             COUNT 1
                                     NEGLIGENCE: JOEY SANDERS

                                                    14.

           Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1 through

    13 above as if fully restated.

                                                    15.

           The collision was caused by the negligence of Defendant Sanders.

                                                    16.

           At all times relevant hereto, Defendant Sanders owed a duty of care to Plaintiff to operate

    his vehicle in accordance with ordinary care and diligence, as defined under O.C.G.A. § 51-1-2,

    and Defendant Sanders breached that duty to which he owed to Plaintiff.

                                                    17.
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           At all relevant times, Defendant owed certain civil duties to Plaintiff, and, notwithstanding

    those duties, the Defendant did violate them in the following particulars:

           a.      In negligently operating the 2007 Chevrolet Express Van;

           b.      In wantonly causing or allowing the 2007 Chevrolet Express Van to collide with

                   the Plaintiff;

           c.      In failure to obey traffic control devices, in violation of O.C.G.A. § 40-6-20;

           d.      In operating the 2007 Chevrolet Express Van in reckless disregard for the safety of

                   persons and/or property in violation of O.C.G.A. § 40-6-390; and,

           e.      In committing other negligent and reckless acts and omissions as may be shown by

                   the evidence and proven at trial.

                                                   18.

                   Defendant Sanders’s negligence is a proximate cause of the collision, and Plaintiff’s

           resulting injuries.

                                     COUNT 2
                  NEGLIGENCE: ALBANY AND ALABAMA INDUSTRIES, INC.

                                                       19.

           Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1 through

    18 above as if fully restated.

                                                       20.

           At all relevant times, Defendant Sanders was employed by Defendant Albany and Alabama

    Industries, Inc. and was acting within the scope of his employment at the time of the accident.

                                                       21.

           Defendant Sanders negligently maintained the aforementioned 2007 Chevrolet Express

    Van.
6                                                                                                   6
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                                                    22.

           Defendant Albany and Alabama Industries, Inc. had knowledge that Defendant Sanders

    was incompetent to drive or habitually reckless and allowed him access to the motor vehicle

    anyway.

                                                    23.

           Defendant Albany and Alabama Industries, Inc. failed to conduct proper background

    checks before hiring Defendant Sanders and allowed him access to its motor vehicle anyway.

                                                    24.

           Defendant Albany and Alabama Industries, Inc. negligently hired Defendant Sanders

    despite the fact that Defendant Sanders was incompetent to drive and habitually reckless and

    allowed him access to its 2007 Chevrolet Express Van anyway.

                                                    25.

           Defendant Albany and Alabama Industries, Inc. is liable for the acts and omissions of

    Defendant Sanders as Defendant Albany and Alabama Industries, Inc.’ agent and employee at the

    time of the collision-in-suit under the theory of respondeat superior.

                                                    26.

           Defendant Albany and Alabama Industries, Inc.’s negligent act of allowing Defendant

    Sanders to operate its vehicle was the proximate cause of this wreck.




                                      COUNT 3:
                       NEGLIGENT HIRING, TRAINING & SUPERVISION

                                                    27.
7                                                                                                            7
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            Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1 through

    26 above as if fully restated.

                                                       28.

            Defendant Albany and Alabama Industries, Inc. was negligent in hiring, screening,

    employing, training and supervising Defendant Joey Sanders and entrusting him to operate their

    2007 Chevrolet Express Van.

                                                       29.

            Defendant Albany and Alabama Industries, Inc. was negligent in failing to properly train

    Defendant Joey Sanders.

                                                       30.

            Defendant Albany and Alabama Industries, Inc. was negligent in failing to properly

    supervise Defendant Sanders.

                                                       31.

            Defendant Albany and Alabama Industries, Inc.’s negligence in hiring Defendant Sanders

    and entrusting him with operating their 2007 Chevrolet Express Van and failing to train and

    supervise him properly was the sole and proximate cause of the collision, and Plaintiff’s resulting

    injuries.

                                                       32.

                Defendant Albany and Alabama Industries, Inc. is liable for tortuously failing to properly

    instruct, train and supervise Defendant Sanders as its employee and/or agent.



                                                  COUNT 5:
                                                  DAMAGES

                                                       33.
8                                                                                                            8
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             Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1 through

    32 above as if fully restated.

                                                     34.

             As a direct and proximate result of Defendants’ negligence, Plaintiff sustained personal

    injuries, special damages, and general damages for which he is entitled to be compensated by

    Defendants in an amount to be determined at trial.

                                                     35.

             As a direct and proximate result of the combined and concurrent negligent acts and

    omissions of all Defendants, Plaintiff will continue to suffer both general and special damages in

    the future, including expenses for future medical treatment, the exact amount to be proven at trial.

                                                     36.

             Defendants’ negligence is the sole and proximate cause of Plaintiff’s injuries.

                                                     37.

             As a direct and proximate result of the aforesaid negligence and breaches of duty by

    Defendants, Plaintiff Tuck suffered substantial injuries and damages including medical and other

    necessary expenses, mental and physical pain and suffering due to the injuries to his body and

    nervous system, personal inconvenience, plus an inability to lead a normal life. As a result of the

    subject collision, Plaintiff has incurred in excess of $38,844.37 in past medical expenses.

       WHEREFORE, Plaintiff prays that he has a trial on all issues and judgment against defendants

    as follows:

       (a) Summons and Complaint be served upon Defendants according to the law;

       (b)        Plaintiff recover from Defendant a sum of damages to compensate him for his injuries

                  and damages, including, but not limited to, his medical expenses (past and future), and
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               pain and suffering (past, present, and future), and lost wages;

       (c)     That Plaintiff recover for physical and mental pain and suffering in an amount to be

               determined by the enlightened conscience of a jury;

       (d) All costs of this action be taxed against Defendants; and

       (e) That Plaintiff recover such other and further relief as is just and proper.


                  Respectfully submitted this 5th day of May, 2022.



                                                  By:     /s/ R. Walker Garrett
                                                          R. Walker Garrett
                                                          Attorney for Plaintiff
                                                          Georgia Bar No. 626132
    Morgan & Morgan Atlanta, PLLC
    408 12th Street – Suite 200
    Columbus, Georgia 31901
    Phone: (706) 324-1227
    Fax: (706) 324-1228
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                                                                                          CLERK OF STATE COURT
                                                                                       DOUGHERTY COUNTY, GEORGIA
                                                                                       STSV2022000228
                         IN THE STATE COURT OF DOUGHERTY COUNTY                                   JMS
                                     STATE OF GEORGIA                                    MAY 05, 2022 11:28 AM


     TRAVIS TUCK,                         )
          Plaintiff,                      )      CIVIL ACTION
                                          )
     vs.                                  )      FILE NO.: _______________
                                          )
     JOEY SANDERS and                     )
     ALBANY AND ALABAMA                   )
     INDUSTRIES, INC.                     )      JURY TRIAL DEMANDED
           Defendants.                    )

                       CERTIFICATE OF SERVING DISCOVERY MATERIAL

            COMES NOW, Plaintiff herein, and pursuant to the local rules of court hereby certifies that
     a true and correct copy of the following documents were served upon defendant via hand delivery
     attached to Summons and Complaint:
            1.     PLAINTIFF’S FIRST REQUEST FOR ADMISSIONS TO DEFENDANT JOEY SANDERS

            2.     PLAINTIFF’S FIRST CONTINUING INTERROGATORIES AND REQUEST FOR
                   PRODUCTION OF DOCUMENTS TO DEFENDANT JOEY SANDERS

            3.     PLAINTIFF’S FIRST REQUEST FOR ADMISSIONS TO DEFENDANT ALBANY AND
                   ALABAMA INDUSTRIES, INC.

            4.     PLAINTIFF’S FIRST CONTINUING INTERROGATORIES AND REQUEST FOR
                   PRODUCTION OF DOCUMENTS TO DEFENDANT ALBANY AND ALABAMA INDUSTRIES,
                   INC.


                   Respectfully submitted this 5th day of May, 2022.


                                                 By:     /s/ R. Walker Garrett
                                                         R. Walker Garrett
                                                         Attorney for Plaintiff
                                                         Georgia Bar No. 626132
     Morgan & Morgan Atlanta, PLLC
     408 12th Street, Suite 200
     Columbus, Georgia 31901
     Phone: (706) 324-1227
     Fax: (706) 324-1228
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                                                                                               CLERK OF STATE COURT
                                                                                            DOUGHERTY COUNTY, GEORGIA
                                                                                            STSV2022000228
                          IN THE STATE COURT OF DOUGHERTY COUNTY                                       JMS
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     TRAVIS TUCK,                           )
          Plaintiff,                        )       CIVIL ACTION
                                            )
     vs.                                    )       FILE NO.: _______________
                                            )
     JOEY SANDERS and                       )
     ALBANY AND ALABAMA                     )
     INDUSTRIES, INC.                       )       JURY TRIAL DEMANDED
           Defendants.                      )

                          PLAINTIFF'S FIRST INTERROGATORIES TO
                     DEFENDANT ALBANY AND ALABAMA INDUSTRIES, INC.

            COMES NOW Plaintiff in the above-styled action and serve these Interrogatories upon the
     Defendant, ALBANY AND ALABAMA INDUSTRIES, INC. (“GENE EVANS”) as an opposite
     party and requests that they be fully answered in writing and under oath within forty-five (45) days of
     the date of service. These interrogatories are served pursuant to the Georgia Civil Practice Act and
     more specifically to the provisions of O.C.G.A. §§ 9 11-26 and 9-11-33. These interrogatories shall
     be deemed continuing and you are required to supplement or amend any prior response if the person
     or entity to whom these interrogatories are addressed ascertains any change, different or added fact,
     condition or circumstances, or that there be any other witness(es) or evidence. Each interrogatory is
     addressed to the personal knowledge of the Defendant, as well as to the knowledge and information
     of Defendant's attorneys, investigators, agents, employees, and other representatives. If Defendant is
     unable to answer a question completely, the question should be answered as fully as possible. When
     a question is directed to Defendant, the question is also directed to each of the aforementioned
     persons.
            You are requested not to respond to Interrogatories by referring to the responses to other
     Interrogatories or by adoption, since some of the Interrogatories may be introduced into evidence and
     should be, for this purpose, complete in themselves.
                                                DEFINITIONS
            As used herein, the terms listed below are defined as follows:
            1.      "Document" means every writing, printing, record, graphic, photographic or sound
     reproduction of every type and description that has been in your possession, control or custody or of
     which you have knowledge, including but not limited to, correspondence, reports, meeting minutes,
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     memoranda, stenographic or handwritten notes, diaries, notebooks, account books, orders, invoices,
     statements, bills, checks, vouchers, purchase orders, studies, surveys, charts, maps, analyses,
     publications, books, pamphlets, periodicals, catalogues, brochures, schedules, circulars, bulletins,
     notices, instructions, manuals, journals, e-mails, data sheets, work sheets, statistical compilations,
     data processing cards, microfilms, computer records (including printouts, disks or other magnetic
     storage media), tapes, photographs (positive or negative prints), drawings, films, videotapes, pictures,
     and voice recordings. Plaintiffs expressly intend for the term "Document" to include every copy of
     such writing, etc. when such copy contains any commentary or notation whatsoever that does not
     appear on the original and any attachments or exhibits to the requested document or any other
     documents referred to in the requested document or incorporated by reference.
             2.      "Person" means any natural person, corporation, partnership, proprietorship,
     association, organization, or group of persons.
             3.      "Occurrence" refers to the collision forming the basis of the Complaint.
             4.      (a)     "Identify" with respect to any "person" or any reference to stating the
             "identity" of any "person" means to provide the name, home address, telephone number,
             business name, business address, and business telephone number of such person, and a
             description of each such person's connection with the events in question.
                     (b)     "Identify" with respect to any "document" or any reference to stating the
             "identification" of any "document" means to provide the title and date of each such
             document, the name and address of the party or parties responsible for the preparation of each
             such document, the name and address of the party who requested or required the preparation
             of the document or on whose behalf it was prepared, the name and address of the recipient or
             recipients of each such document, and the names and addresses of any and all persons who
             have custody or control of each such document, or copies thereof.
                                             INTERROGATORIES
                                                         1.
             Please describe the relationship between ALBANY AND ALABAMA INDUSTRIES, INC.
     and JOEY SANDERS.
                                                         2.
             For each and every request for admission that you did not admit in its entirety, please provide
     in detail the factual basis supporting your failure to admit the request.
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                                                         3.
             Please identify by Manufacturer, make, model, year and Vehicle Identification Number
     (VIN) all vehicles operated by this Defendant on June 10, 2021.
                                                         4.
             Please identify by Manufacturer, make, model, year and Vehicle Identification Number
     (VIN) all vehicles currently operated by this Defendant.
                                                         5.
             State the names and addresses of the following officers and employees of this Defendant:
     President; Treasurer; Safety Director; Personnel Director; and all persons who have investigated the
     subject collision or discussed the subject collision with ALBANY AND ALABAMA INDUSTRIES,
     INC. and/or Joey Sanders, driver of the vehicle involved in this collision.
                                                         6.
             Please state whether Defendant is a common carrier, contract carrier or a private carrier, the
     date of incorporation of Defendant, state of incorporation, list the addresses of the principal places of
     business of this Defendant, and whether this Defendant is a subsidiary or parent of another company,
     if so, please state the full name and address of the other company.
                                                         7.
             State whether there are one or more policies of insurance extending coverage to you or
     whether you are a party to or beneficiary of any agreement or contract, by which any person is or
     may be obligated to satisfy all or part of any judgment which may be entered in this action, or to
     indemnify or reimburse any person for any cost, expense or payment made in connection with this
     action. If so, for each such policy of insurance, agreement or contract (specifying which), state the
     name and current address of each person who is a party or beneficiary (specifying which), the
     effective dates or date of execution, the substance and content, the applicable limits of liability
     coverage, and the name and current address of the person(s) having possession thereof.
                                                         8.
             With regard to each policy of insurance identified in answer to Interrogatory No. 3, state
     whether the insurer has undertaken to defend you in this action, whether the insurer has
     acknowledged or extended coverage with respect to the collision-in-suit, and whether the insurer has
     undertaken to defend you in this action under a reservation of rights or non-waiver agreement.
                                                         9.
             Who was the owner of the subject vehicle, at the time of this wreck? Please give the full
     name and address of the owner.
14                                                                                                             14
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                                                         10.
             If you were not the owner of the subject vehicle involved in this wreck, please state whether
     these vehicles were being operated by Defendant under a lease at the time of the wreck and state
     whether the lease was a permanent or trip lease.
                                                         11.
             Identify all vehicle leases, subleases, trip leases, or other leasing or sharing arrangements
     involving the tractor or trailer (including any container or chassis, if applicable) driven by JOEY
     SANDERS from 30 days prior to the subject collision to 30 days subsequent to the collision.
                                                         12.
             State whether this Defendant admits that the driver of the subject vehicle, JOEY SANDERS,
     negligently caused the subject occurrence. If your answer is in the negative, please explain the basis
     for contesting liability.
                                                         13.
             Has JOEY SANDERS ever been cited by the Department of Transportation, Public Service
     Commission or Federal Highway Administration for violation of the Federal Motor Carrier Safety
     Regulations? If so, please state for each instance:
             (a)      The date of the violation;
             (b)      A description of the violation;
             (c)      The location where the violation occurred;
             (d)      The agency issuing the citation;
             (e)      The ultimate disposition of the charges.
                                                         14.
             Do you contend that the plaintiff caused or contributed to the collision in question? If so,
     state with particularity each and every contention made in this regard.
                                                         15.
             Please identify every person who has any information about how or why the collision
     complained of in this case occurred, about who was at fault or in any way responsible for causing this
     wreck, and about any other information pertaining to the issue of liability or damages in this case.
     Please include a brief description of the nature of such person's knowledge. (For example:
     eyewitness, investigating police officer, medical personnel, etc.)
                                                         16.
             State whether the tractor involved in the collision contained or utilized an on-board recording
     device, an on-board computer, tachograph, trip monitor, trip recorder, trip master, Qualcomm, Vorad,
15                                                                                                                15
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     ECM or device known by any other name that records information concerning the operation of the
     tractor.
                                                           17.
                Please state whether any of the above witnesses gave any statement(s) or account(s), either
     orally, in writing, or recorded in any way, of her or her knowledge of any information relevant in this
     lawsuit. If so, identify any witness(es) giving such statement(s) and provide an explanation of the
     type statement(s) given (oral, written, recorded, etc.). Also, identify the taker and present custodian
     of such statement(s).
                                                           18.
                Please describe the method by which you compensate your drivers (i.e., by the hour, by the
     miles traveled, by the load, commissions, salary, etc.) and any variations for the Defendant driver’s
     pay at the time of the wreck.
                                                           19.
                Please identify all persons (whether medical providers, lay persons, or anyone else) who have
     any relevant information relative to the Plaintiff and Plaintiff’s decedent’s health condition prior to or
     subsequent to the collision in this case, information relative to his physical and mental suffering as a
     result of this collision, or any information relative to the issue of damages in this litigation.
                                                           20.
                Please explain the nature of the employment relationship between the driver of the subject
     vehicle, involved in this collision and this Defendant, including the date the employment relationship
     began, whether the relationship has been terminated, the date of such termination, the reason for such
     termination, and the identity of the person who terminated the driver.
                                                           21.
                With respect to the driver of the subject vehicle involve in this occurrence, please state the
     following: his Date of Birth; Social Security number; Driver's license number and state of issuance;
     his present home address; all of said driver's previous residence addresses for the past five years,
     including the street address, city, state, and zip code; his mode of compensation.
                                                           22.
                Please state whether Defendant maintains driver qualifications and describe each one.
                                                           23.
                At any time prior to this wreck, did JOEY SANDERS ever fail to meet any one of these
     driver qualifications? If so, please state which one(s) and on what date he failed to meet the
     qualification(s).
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                                                        24.
             Please identify the following individuals as of the date of the occurrence and at present:
             (a)     Person(s) responsible for the inspection, maintenance, and repair of the subject
                     vehicle;
             (b)     Safety Director;
             (c)     Person(s) responsible for training employees/drivers, including Defendant
                     JOEY SANDERS;
             (d)     Person(s) responsible for interviTuck and/or hiring employees/drivers, and
                     specifically driver JOEY SANDERS; and
             (e)     Person(s) responsible for supervising drivers, including JOEY SANDERS.
                                                        25.
             Please state whether this Defendant, its agents, its attorneys, or its insurers, on its own or
     through any other person, obtained or obtains information, from any private source or governmental
     agency, about the driving history, driving violations, criminal violations, motor vehicle record, or
     other driving qualifications of the persons this Defendant hires or allows to drive vans. If so, please
     state, by job title, to which employees this inquiry applies, from whom this information is obtained
     (including, but not limited to any governmental agency or entity), and exactly what information is
     obtained or, as a matter of policy, sought to be obtained. Also, please state the same as to each
     person through which such information was requested or obtained concerning the driver involved in
     the subject occurrence and the dates upon which such information was obtained concerning the
     driver operating the van involved in the subject occurrence.
                                                        26.
             Please identify any and all investigators, mechanics, adjusters, claims representatives, or
     experts who have investigated this collision, examined any of the vehicles involved, or who have in
     any way investigated the claims made in this lawsuit on behalf of this Defendant, its attorneys, or its
     insurers.
                                                        27.
             Please give a detailed history of any inspections, maintenance, and repairs of the subject
     vehicle which was involved in the subject collision, both prior to and subsequent to the subject
     collision, including but not limited to the dates of any inspection(s), maintenance work, and/or
     repairs, the names of persons who performed any inspection, maintenance, or repairs, and a
     description of the inspection or work performed.
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                                                          28.
             State the point of origin, destination and reason for the trip being made by the defendant at
     the time of the incident referred to in the complaint.
                                                          29.
             In regard to the load being transported at the time of the collision by JOEY SANDERS,
     identify:
             (a)     Where the load originated;
             (b)     The contents thereof;
             (c)     The weight of said load;
             (d)     The final destination of the load;
             (e)     Any contracts, bills of lading, shipment documents, consignment forms, fax
                     correspondence or other writings pertaining to the transportation of said load.
                                                          30.
             Please identify any person that this Defendant expects to call as an expert witness, whether
     live, by affidavit, or by deposition, in connection with any trial, hearing, or motion, as well as any
     other evidentiary hearing in this action, and, separately for each expert: identify the subject matter of
     which the person is expected to testify; identify the substance of the facts and opinions as to which
     the person is expected to testify; summarize the grounds for such opinions; and identify all
     documents and professional references upon which such person may base her or her testimony and
     opinions.
                                                          31.
             As to this Defendant's subject vehicle, involved in the occurrence, please state the following
     information: Manufacturer, make, model, year, and Vehicle Identification Number (if incorrect);
     person or entity to whom the subject vehicle was titled as of the date of the occurrence and at present;
     present location of the subject vehicle; gross vehicle rating of the subject vehicle; and wheel base
     measurements.
                                                          32.
             Please state whether any inspection of the subject vehicle was conducted after the collision
     that is the subject of this lawsuit, the results of such inspection, and the name(s) of the person(s)
     performing such inspection. Also identify any documents, reports, photographs, videotapes, or other
     records which were made concerning any inspection of the subject vehicle.
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                                                       33.
             Please state whether at the time and place of the subject occurrence, JOEY SANDERS was
     an employee/servant of this Defendant acting within the course and scope of his employment for this
     Defendant. If your answer to this interrogatory is in any way in the negative, please also state the
     facts which support such response.
                                                       34.
             Please identify the cellphone number and service provider for all cellphones owned, used or
     operated by JOEY SANDERS on the date of the incident.
                                                       35.
             Please list each act of negligence, contributory negligence, or comparative negligence you
     contend Plaintiff or any other person did or failed to do which in any way contributed to causing the
     subject occurrence and/or any of Plaintiff’s injuries. Please supply any statutory authority in support
     of these contentions, and identify any evidence that supports these contentions.
                                                       36.
             Please state whether this Defendant, its attorneys, investigators, or other representatives know
     of any photographs, still or motion pictures, plans, drawings, blueprints, sketches, diagrams,
     computer simulations, or any other type of demonstrative evidence concerning the subject
     occurrence, the site of the subject occurrence, the vehicles involved, or which in any way illustrate
     any facts relevant to the occurrence. As to each item, please state the following: the nature of such
     item; how many of such items exist (for example, 15 photographs); the name, address, and employer
     of the person making or supplying such item; and the identity of the person who presently possesses
     such item.
                                                       37.
             Please state whether or not an accident/incident report was made by this Defendant or any of
     your representatives in connection with the subject occurrence, and if so, the place where such report
     is located.
                                                        38.
             Did you conduct a post-accident alcohol and controlled substance test on JOEY SANDERS?
     If so, please state:
             (a)      The date of testing;
             (b)      Who performed the test;
             (c)      Where the test was performed;
             (d)      The results of the test.
19                                                                                                             19
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                                                         39.
             If post-accident testing was not performed on JOEY SANDERS, please state the reasons such
     testing did not occur.
                                                         40.
             Please state in detail how you contend the subject occurrence took place and the order in
     which the events took place, to include the purpose of the trip by JOEY SANDERS, his destination,
     and from where he left, the time and date se left and the time and date he reached his destination.
     Please include in this response a listing of each person, force of nature, act of God, and/or
     circumstance you believe to have caused or contributed to causing the subject occurrence and/or any
     of Plaintiff’s injuries.
                                                         41.
             Please identify all persons who are supplying information to respond to these Interrogatories
     and to Plaintiff’s Requests for Production of Documents.
                                                         42.
             Identify each document which supports or otherwise relates to your responses to any of these
     Interrogatories or to any of your contentions asserted in your answer to Plaintiff’s Complaint, stating
     as to each such document the contention which it supports or to which it otherwise relates.
                                                         43.
             Please detail the factual and legal basis for each defense pled in this Defendant's answer.
                                                         44.
             Please identify and describe each document filed by or on behalf of ALBANY AND
     ALABAMA INDUSTRIES, INC. with a state or government agency, or received from a state or
     federal agency, including, but not limited to, certificates of insurance, MC90, insurance cancellation
     notifications, certificate of authority, and licenses or permits.

                      Respectfully submitted this 5th day of May, 2022.

                                                       By:     /s/ R. Walker Garrett
                                                               R. Walker Garrett
                                                               Attorney for Plaintiff
                                                               Georgia Bar No. 626132
     Morgan & Morgan Atlanta, PLLC
     408 12th Street – Suite 200
     Columbus, Georgia 31901
     Phone: (706) 324-1227
     Fax: (706) 324-1228
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                           IN THE STATE COURT OF DOUGHERTY COUNTY
                                       STATE OF GEORGIA

     TRAVIS TUCK,                            )
          Plaintiff,                         )        CIVIL ACTION
                                             )
     vs.                                     )        FILE NO.: _______________
                                             )
     JOEY SANDERS and                        )
     ALBANY AND ALABAMA                      )
     INDUSTRIES, INC.                        )        JURY TRIAL DEMANDED
           Defendants.                       )


             PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO
                  DEFENDANT ALBANY AND ALABAMA INDUSTRIES, INC.

             COMES NOW Plaintiff in the above-styled action and hereby requests that Defendant
     ALBANY AND ALABAMA INDUSTRIES, INC. (“GENE EVANS”) produce the following
     documents pursuant to O.C.G.A. § 9-11-34 within forty-five (45) days from the date of service
     hereof at the Law Firm of MORGAN & MORGAN ATLANTA, PLLC, 408 12th Street – Suite 200,
     Columbus, Georgia 31901, or at such other time, date, and location agreed to by counsel for
     Defendant and the undersigned counsel, and to serve a written response hereto within forty-five (45)
     days from the date of service hereof.
                                                 DEFINITIONS
             As used herein, the terms listed below are defined as follows:
             1.      "Document" means every writing, printing, record, graphic, photographic or sound
     reproduction of every type and description that has been in your possession, control or custody or of
     which you have knowledge, including but not limited to, correspondence, reports, meeting minutes,
     memoranda, stenographic or handwritten notes, diaries, notebooks, account books, orders, invoices,
     statements, bills, checks, vouchers, purchase orders, studies, surveys, charts, maps, analyses,
     publications, books, pamphlets, periodicals, catalogues, brochures, schedules, circulars, bulletins,
     notices, instructions, manuals, journals, e-mails, data sheets, work sheets, statistical compilations,
     data processing cards, microfilms, computer records (including printouts, disks or other magnetic
     storage media), tapes, photographs (positive or negative prints), drawings, films, videotapes, pictures,
     and voice recordings. Plaintiffs expressly intend for the term "Document" to include every copy of
     such writing, etc. when such copy contains any commentary or notation whatsoever that does not
21                                                                                                           21
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     appear on the original and any attachments or exhibits to the requested document or any other
     documents referred to in the requested document or incorporated by reference.
            2.      "Person" means any natural person, corporation, partnership, proprietorship,
     association, organization or group of persons.
            3.      "Occurrence" refers to the collision made the basis of the Complaint.
            4.      (a)     "Identify" with respect to any "person" or any reference to stating the
            "identity" of any "person" means to provide the name, home address, telephone number,
            business name, business address, and business telephone number of such person, and a
            description of each such person's connection with the events in question.
                    (b)     "Identify" with respect to any "document" or any reference to stating the
            "identification" of any "document" means to provide the title and date of each such
            document, the name and address of the party or parties responsible for the preparation of each
            such document, the name and address of the party who requested or required the preparation
            of the document or on whose behalf it was prepared, the name and address of the recipient or
            recipients of each such document, and the names and addresses of any and all persons who
            have custody or control of each such document, or copies thereof.
                                     REQUESTS FOR PRODUCTION
                                                       1.
            Please produce all documents in your possession, custody or control which you provided to,
     or received from the Federal Motor Carrier Safety Administration.
                                                       2.
            Please produce all documents in your possession, custody or control which you provided to,
     or received from the Georgia Public Safety Commission.
                                                       3.
            Please produce any citations, reports, correspondence, records or other documents from any
     city, county or state agency regarding your drivers, or your operation as a Motor Carrier.
                                                       4.
            Please produce a copy of the corporate bylaws and articles of incorporation.
                                                       5.
            Please produce any documents in your custody, possession or control regarding the business
     relationship of JOEY SANDERS and ALBANY AND ALABAMA INDUSTRIES, INC.
22                                                                                                                22
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                                                         6.
             Please produce copies of all witness statements obtained from any person about any
     information relevant to any issue in this lawsuit or the subject collision, including, but not limited to,
     the issues of liability or damages.
                                                         7.
             Please produce copies of any photographs, still or motion pictures, videos, plans, drawings,
     blue prints, sketches, diagrams, computer simulations, or any other photographic or demonstrative
     evidence concerning the subject collision and/or concerning any of the issues relevant in this lawsuit,
     to include, but not be limited to, the issues of liability and damages.
                                                         8.
             Please produce a copy of any incident reports prepared by any agent, employee, or officer on
     behalf of this Defendant concerning the subject collision.
                                                         9.
             Please produce a complete copy of all policies of insurance (to include the Declarations
     pages) which do or may afford liability insurance coverage to this Defendant with respect to
     Plaintiff’s claims against this Defendant. This Request expressly includes primary insurance
     coverage, excess insurance coverage, umbrella insurance coverage, personal insurance coverage,
     business insurance coverage, or any other type of liability insurance coverage.
                                                        10.
             Please produce copies of all reports or opinions received from any experts who have
     investigated any issue relevant to the subject collision relevant to this lawsuit. Also, please produce
     all materials relied upon by each expert in formulating his or her opinions and conclusions.
                                                        11.
             Please produce a copy of the employment file for Defendant JOEY SANDERS, including but
     not limited to any contract between Defendant driver and ALBANY AND ALABAMA
     INDUSTRIES, INC.
                                                        12.
             Please produce a copy of the paycheck, paycheck stub, time card, and any documentation of
     time worked by the Defendant driver for the time period during which this collision occurred. This
     request includes copies of any materials which reflect any expenses (such as mileage, gas, etc.)
     which are reimbursed.
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                                                        13.
             Please produce a copy of the insurance card, cab registration card, and any other
     documentation provided by Defendant driver to the investigating officer or any other person at the
     time of the wreck or any time thereafter.
                                                        14.
             Please produce a copy of the logs for trips made by the Defendant driver for the fourteen
     days prior to the subject collision, the date of said collision, and the seven days subsequent to said
     collision.
                                                        15.
             Please produce a copy of any and all instructions manuals, employee rules, regulations, or
     any driver/employee handbook provided to Defendant driver or any handbook in force and effect for
     drivers of this Defendant at the time of the subject collision.
                                                        16.
             Please produce a copy of all company hiring policies and procedures at the time Defendant
     JOEY SANDERS was hired.
                                                        17.
             Please produce a copy of all company manuals covering van safety, maintenance, fleet safety
     programs, and driver’s standards from the time Defendant JOEY SANDERS was hired through the
     time of this wreck.
                                                        18.
             Please produce a copy of the accident review procedures or rules adopted by the company to
     determine whether any accident is chargeable or non-chargeable, preventable or non-preventable,
     which were in effect at the time of the subject collision.
                                                        19.
             Please produce a complete copy of the driver qualification file and your personnel file
     maintained concerning the Defendant driver, JOEY SANDERS, involved in the subject collision.
                                                        20.
             Please produce copies of any and all trip sheets, bills of lading, shipping documents, or any
     and all other documents of any kind or by any other name which reflect information concerning the
     trip being made by the Defendant driver at the time the subject collision occurred to include
     documents relevant to said trip from the time the trip originated until the time the trip was to end,
     including but not limited to:
24                                                                                                    24
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     a.    Copy of all tachometer records;
     b.    Copy of all on-board computer records;
     c.    Copy of all dispatch records;
     d.    Copy of all fax transmissions between the driver, his employer and any agent or broker;
     e.    Copy of all telephone records;
     f.    Copy of all mobile radio records;
     g.    Copy of all pro-rate records;
     h.    Copy of all wrecker or tow truck records;
     i.    Copy of van and trailer license;
     j.    Copy of all pick-up and delivery records;
     k.    Copy of all trip summaries;
     l.    Copy of all delivery manifests;
     m.    Copy of all credit card receipts;
     n.    Copy of all toll tickets;
     o.    Copy of all state entry and departure records;
     p.    Copy of registration and title to the van;
     q.    Copy of all expense sheets;
     r.    Copy of all manifests and waybills;
     s.    Copy of the accident register;
     t.    Copy of all trip reports;
     u.    Copy of JOEY SANDERS’s Commercial Drivers’ and/or Drivers’ License;
     v.    Copy of all records generated by on-board recording devices with which the van was
           equipped at the time of the accident;
     w.    Trip Logs;
     x.    Mileage Sheets;
     y.    In-service hours;
     z.    Tripometer results; and,
     aa.   Any correspondence of any kind to and from any governmental agency pertaining to
           the subject vehicle and/or the driver. This request includes, but is not limited to, any
           correspondence between any governmental or law enforcement office and the driver
           or employer concerning the June 10, 2021 accident.


                                               21.
25                                                                                                              25
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             Please produce any report or statement, whether oral or in words by JOEY SANDERS
     concerning the collision and given to this Defendant, the police, any insurer, or any other person
     concerning the collision set forth in the Complaint.
                                                         22.
             Please produce a complete copy of maintenance records, repair records, and inspection
     records on the subject vehicle, involved in the subject collision. This request includes any documents,
     photographs, videos, or any other reports or records concerning the maintenance, repair, and
     inspection of the subject van both prior to and after the date of the collision that is the subject of
     Plaintiff’s Complaint.
                                                         23.
             Please produce copies of any and all reports, repair bills, work orders, videotapes,
     photographs, or other documentation or evidence of any kind which depict, demonstrate, or relate to
     the nature of the damage done to the subject vehicle, in the subject collision and who repaired the van
     after the subject collision.
                                                         24.
             Please produce copies of any and all photographs, documents, or demonstrative evidence that
     you intend to use in the defense of this case at trial.
                                                         25.
             Please produce copies of any and all evidence in your possession to include documents,
     medical condition, photographs, sound or video recordings, or any documentation by any other name,
     that concerns Plaintiff and/or Plaintiff’s decedent’s physical or medical condition, injuries, or
     damages that have not been supplied to you by Plaintiff’s counsel.
                                                         26.
             Please produce copies of any and all documents obtained or generated as a result of JOEY
     SANDERS driving for this Defendant or its agents, officers, and employees or generated for
     consideration of JOEY SANDERS as a driver for this Defendant.
                                                         27.
             Please produce any and all documents that in any way pertain to JOEY SANDERS’s
     qualifications (or lack thereof) to drive professionally for this Defendant to include prior references,
     previous collisions or motor vehicle collisions, reprimands, criticisms, or any other information that
     reflects negatively or positively upon said driver's driving or driving ability.


                                                         28.
26                                                                                                               26
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             Please produce a copy of any documentation of any kind received by this Defendant from
     any person, corporation, or insurer relative to the performance of JOEY SANDERS as a van driver to
     include criticisms, reprimands, infractions, discharges, firings, or other commentary concerning
     JOEY SANDERS’s work or background as a driver from the time he first drove for this Defendant to
     include, but not be limited to, the date of the collision and any information received concerning the
     requested subject matter subsequent to said collision.
                                                         29.
             Please produce copies of all motor vehicle reports or reports of any kind received from any
     private corporation or individual, or other business entity, or any governmental entity relative to the
     driving history, driving record, and driving infractions of JOEY SANDERS.
                                                         30.
             Please produce copies of any and all citations received by the Defendant driver from any law
     enforcement officer to include citations relevant to any violation of any law, ordinance, or rule of
     road of any state as a result of this collision.
                                                         31.
             Please produce copies of any and all information sent to or received from or through any of
     your insurers concerning the collision giving rise to this litigation including, but not limited to,
     documents in the possession of your liability insurance carrier with respect to the issue of liability in
     this case.
                                                         32.
             Please produce a copy of any reservation of rights letter or other documentation of any kind
     received from any insurer that purports to question, deny, or defend under a reservation of rights the
     insurance coverage and claim that forms the basis for Plaintiff’s Complaint.
                                                         33.
             Please produce copies of any and all medical reports, medical tests, alcohol or drug screens,
     or tests of any other kind by any other name performed upon the driver of the Defendant's vehicle(s),
     involved in the subject collision by any medical provider or law enforcement agency either prior to,
     subsequent to, or as a result of the collision that forms the basis for Plaintiff’s Complaint.
                                                         34.
             Please produce a copy of all rental contracts and/or lease contracts between you and the
     owner of the subject vehicle.


                                                         35.
27                                                                                                               27
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             Please produce copies of all out of service orders and/or repair invoices during the period the
     subject vehicle was operated on your behalf.
                                                         36.
             Please produce for inspection and copying by the plaintiff copies of the bill of sale, title and
     any other documents relating to the ownership of the tractor and trailer (including container or chassis,
     if applicable) driven by JOEY SANDERS on the date of the incident referred to in the complaint. In
     lieu of this, you may attach copies thereof to your answers to these interrogatories.
                                                            37.
             Please produce for inspection and copying by the plaintiff, a copy of JOEY SANDERS’S
     qualification file, including but not limited to:
             (a)     Application for employment;
             (b)     Copy of his/her CDL license;
             (c)     Driver’s certification of prior motor vehicle accidents;
             (d)     Driver’s certification of prior violations of motor vehicle laws;
             (e)     Driver’s prior employment history;
             (f)     Carrier’s inquiry into his/her driving record;
             (g)     Carrier’s inquiry into his/her employment record;
             (h)     Documents regarding carrier’s annual review of his/her driving record;
             (i)     Response of each state agency to carrier’s annual inquiry concerning his/her driving
                     record;
             (j)     Certification of driver’s road test;
             (k)     Medical examiner’s certificate;
             (l)     Statement setting forth in detail any denial, revocation or suspension of any license,
                     permit or privilege to operate a motor vehicle;
             (m)     Training certificates and training documents;
             (n)     Drug testing records;
             (o)     Any other documents.
     In lieu of this, you may attach copies thereof to your answers to these interrogatories.
                                                         38.
             Please produce for inspection and copying by the plaintiff, copies of cellphone records showing
     incoming and outgoing calls, texts and messages for the date of the incident. In lieu of this, you may
     attach copies thereof to your answers to these interrogatories.
28                                                                            28
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                 Respectfully submitted this 5th day of May, 2022.



                                              By:    /s/ R. Walker Garrett
                                                     R. Walker Garrett
                                                     Attorney for Plaintiff
                                                     Georgia Bar No. 626132
     Morgan & Morgan Atlanta, PLLC
     408 12th Street – Suite 200
     Columbus, Georgia 31901
     Phone: (706) 324-1227
     Fax: (706) 324-1228
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                                                                                                   CLERK OF STATE COURT
                                                                                                DOUGHERTY COUNTY, GEORGIA
                                                                                                STSV2022000228
                           IN THE STATE COURT OF DOUGHERTY COUNTY                                          JMS
                                       STATE OF GEORGIA                                           MAY 05, 2022 11:28 AM


     TRAVIS TUCK,                             )
          Plaintiff,                          )       CIVIL ACTION
                                              )
     vs.                                      )       FILE NO.: _______________
                                              )
     JOEY SANDERS and                         )
     ALBANY AND ALABAMA                       )
     INDUSTRIES, INC.                         )       JURY TRIAL DEMANDED
           Defendants.                        )

                        PLAINTIFF’S FIRST REQUEST FOR ADMISSIONS TO
                      DEFENDANT ALBANY AND ALABAMA INDUSTRIES, INC.

             COMES NOW Plaintiff and hereby requests that Defendant ALBANY AND ALABAMA
     INDUSTRIES, INC. admit for the purpose of this action the truth of the following facts within forty-
     five (45) days after the date of service hereof and in conformity with O.C.G.A. § 9-11-36. If any
     request cannot be truthfully admitted or denied, please state in detail the reasons why you cannot
     truthfully admit or deny the matter. If you cannot admit or deny the request in its entirety, please specify
     that part which you cannot admit or deny and state in detail the reasons for any such qualifications. If
     you assert any claim of privilege in response to any or all of these requests, set forth, with respect to
     each such request(s) as to which a claim of privilege is asserted, the nature of the privilege claimed
     (e.g. attorney-client, work-product, etc.) and the basis for your claim.


                                        REQUESTS FOR ADMISSIONS
                                                           1.
             Please admit that this Defendant was personally served with a copy of the Summons and
     Complaint in the above-styled action.
                                                           2.
             Please admit that this Defendant has been properly served with process in this action.
                                                           3.
             Please admit that this Defendant raises no defense as to insufficiency of process or
     insufficiency of service of process in this action.
                                                           4.
             Please admit that venue as to this Defendant is proper in Dougherty County, Georgia.
30                                                                                                               30
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                                                          5.
             Please admit that this Court has jurisdiction over this Defendant for the purpose of this
     lawsuit.
                                                          6.
             Please admit that Defendant Sanders was an employee of Defendant Albany and Alabama
     Industries, Inc. at the time of the June 10, 2021 collision-in-suit.
                                                          7.
             Please admit that at the time of the collision-in-suit, Defendant Joey Sanders was operating a
     2007 Chevrolet Express Van in the course and scope of his employment with Defendant Albany and
     Alabama Industries, Inc.
                                                          8.
             Please admit that Defendant Albany and Alabama Industries, Inc. is liable under the doctrine
     of Respondeat Superior for negligent acts or omissions of Defendant Joey Sanders, if any, at the time
     of the subject collision.
                                                          9.
             Please admit that Defendant Albany and Alabama Industries, Inc. was the owner or operator
     of the 2007 Chevrolet Express Van at the time of the June 10, 2021 collision-in-suit.
                                                          10.
             Please admit that at the time of the collision-in-suit, Defendant Joey Sanders was traveling
     north on N Slappey Blvd.
                                                          11.
             Please admit that at the time of the collision-in-suit, Plaintiff Travis Tuck was traveling north
     on N Slappey Blvd.
                                                          12.
             Please admit that Defendant Joey Sanders failed to stop at a red light causing his vehicle to
     strike the vehicle being operated by Plaintiff.
                                                          13.
             Please admit that on June 10, 2021, Albany and Alabama Industries, Inc. was insured by
     Central Mutual Insurance Company.
                                                          14.
             Please admit that Central Mutual Insurance Company issued a policy of insurance in which
     Albany and Alabama Industries, Inc. was an insured with effective dates of coverage inclusive of
     June 10, 2021.
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                                                          15.
             Please admit that on June 10, 2021, Albany and Alabama Industries, Inc. was insured under
     policy number BAP 9948458 12.
                                                          16.
             Please admit that Albany and Alabama Industries, Inc. policy number BAP 9948458 12
     provides primary coverage for bodily injury and property damage claims.
                                                          17.
             Please admit that Albany and Alabama Industries, Inc. policy number BAP 9948458 12
     provides coverage for the negligent acts or omissions, if any, of Defendant Joey Sanders arising from
     the subject June 10, 2021 collision-in-suit.
                                                          18.
             Please admit that Albany and Alabama Industries, Inc. policy number BAP 9948458 12
     provides coverage for the negligent acts or omissions, if any, of Defendant Joey Sanders arising from
     the subject June 10, 2021 collision-in-suit.
                                                          19.
             Please admit that Albany and Alabama Industries, Inc. is registered with the Georgia
     Secretary of State.



                     Respectfully submitted this 5th day of May, 2022.



                                                    By:         /s/ R. Walker Garrett
                                                                R. Walker Garrett
                                                                Attorney for Plaintiff
                                                                Georgia Bar No. 626132
     Morgan & Morgan Atlanta, PLLC
     408 12th Street – Suite 200
     Columbus, Georgia 31901
     Phone: (706) 324-1227
     Fax: (706) 324-1228
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                       IN THE STATE COURT OF DOUGHERTY COUNTY
                                   STATE OF GEORGIA
                                           (
     TRAVIS TUCK,                          (
                                           (
           Plaintiff,                      (            CIVIL ACTION FILE
                                           (            NO. STSV2022000228
     v.                                    (
                                           (
     JOEY SANDERS and                      (
     ALBANY AND ALABAMA                    (
     INDUSTRIES, INC.                      (
                                           (
           Defendants.                     (

                             DEFENDANT JOEY SANDERS’
                    ANSWER TO PLAINTIFF’S COMPLAINT FOR DAMAGES

            COMES NOW Defendant Joey Sanders (“Sanders”) by and through counsel of record,

     files this, his Answer and Affirmative Defenses to Plaintiff’s Complaint and shows the Court as

     follows:

                                             FIRST DEFENSE

            Pending additional investigation and discovery, Plaintiff’s damages, if any, may not have

     been proximately caused by this Defendant.

                                           SECOND DEFENSE

            Venue is improper for this Defendant.

                                            THIRD DEFENSE

            In the event that any benefits have been paid by or on behalf of this Defendant, this

     Defendant is entitled to set off any verdict by the amount of benefits paid.

                                           FOURTH DEFENSE

            Plaintiff’s damages must be reduced to the extent that Plaintiff have failed to properly

     mitigate their damages.



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33                                                                                                                 33
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                                              FIFTH DEFENSE

             Plaintiff’s medical expenses must be reduced to the extent that they exceed reasonable

     and customary amounts.

                                              SIXTH DEFENSE

             Plaintiffs are not entitled to any special damages to the extent that Plaintiff have failed to

     specifically plead them in accordance with O.C.G.A. § 9-11-9(g).

                                            SEVENTH DEFENSE

             Plaintiff’s damages must be reduced to the extent that the alleged injuries of Plaintiff are

     the result of pre-existing injuries or otherwise unrelated conditions.

                                             EIGHTH DEFENSE

             Plaintiff is not entitled to attorney’s fees and/or litigation expenses under the facts of this

     case.

                                              NINTH DEFENSE

             Pending further investigation and discovery, this Defendant reserves the right to assert

     any and all affirmative defenses available under Georgia law.

                                           TENTH DEFENSE
                                        RESPONSIVE PLEADINGS

             Defendant Sanders responds to the allegations in the numbered paragraphs of Plaintiffs'

     Complaint as follows:

                                                        1.

             Defendant Sanders is without knowledge or information sufficient to form a belief as to

     the truth of the allegations contained in Paragraph 1 of Plaintiff’s Complaint and, therefore,

     cannot admit or deny same.




                                                                                                               2
34                                                                                                          34
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                                                      2.

            Defendant Sanders admits the allegations contained in Paragraph 2 of Plaintiff’s

     Complaint.

                                                      3.

            Defendant Sanders is without knowledge or information sufficient to form a belief as to

     the truth of the allegations contained in Paragraph 3 of Plaintiff’s Complaint and, therefore,

     cannot admit or deny same.

                                                      4.

            Defendant Sanders admits the allegations contained within Paragraph 4 of Plaintiff’s

     Complaint.

                                                      5.

            Defendant Sanders is without knowledge or information sufficient to form a belief as to

     the truth of the allegations contained in Paragraph 5 of Plaintiff’s Complaint and, therefore,

     cannot admit or deny same.

                                                      6.

                    Defendant Sanders is without knowledge or information sufficient to form a belief

     as to the truth of the allegations contained in Paragraph 5 of Plaintiff’s Complaint and, therefore,

     cannot admit or deny same.

                                                      7.

                    Defendant Sanders is without knowledge or information sufficient to form a belief

     as to the truth of the allegations contained in Paragraph 5 of Plaintiff’s Complaint and, therefore,

     cannot admit or deny same.




                                                                                                        3
35                                                                                                           35
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                                                Background

                                                      8.

            Defendant Sanders is without knowledge or information sufficient to form a belief as to

     the truth of the allegations contained in Paragraph 8 of Plaintiff’s Complaint and, therefore,

     cannot admit or deny same.

                                                      9.

            Defendant Sanders admits that the vehicle he was driving is correctly identified and that

     he ran a red light causing his vehicle to collide with Plaintiff’s vehicle. The remaining allegations

     contained within Paragraph 9 of Plaintiff’s Complaint are denied.

                                                     10.

            Defendant Sanders admits the allegations contained within Paragraph 10 of Plaintiff 's

     Complaint.

                                                     11.

            Defendant Sanders admits the allegations contained within Paragraph 11 of Plaintiff 's

     Complaint.

                                                     12.

            Defendant Sanders admits the allegations contained within Paragraph 12 of Plaintiff 's

     Complaint.

                                                     13.

            Defendant Sanders denies the allegations contained within Paragraph 13 of Plaintiff’s

     Complaint.




                                                                                                        4
36                                                                                                        36
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                                                 Count 1
                                         Negligence: Joey Sanders

                                                  14.
            Defendant Sanders incorporates by reference his responses to Paragraphs 1 - 13 of

     Plaintiff’s Complaint.

                                                    15.

            Paragraph 15 calls for a legal conclusion and not an admission of fact and therefore no

     response is required from Defendant Sanders.

                                                    16.

            Defendant Sanders denies the allegations of Paragraph 16, as pled.

                                                    17.

            Defendant Sanders denies the allegations of Paragraph 17, including those allegations

     contained in subsections a. through e.

                                                    18.

            Paragraph 18 calls for a legal conclusion and not an admission of fact and therefore no

     response is required from Defendant Sanders.

                                                  Count 2
                              Negligence: Albany and Alabama Industries, Inc.

                                                    19.

            Defendant Sanders incorporates by reference its responses to Paragraphs 1 - 18 of

     Plaintiff’s Complaint.

                                                    20.

            Paragraph 20 calls for a legal conclusion and not an admission of fact and therefore no

     response is required from Defendant Sanders. To any extent that Paragraph 20 calls for a

     response, Defendant Sanders is without knowledge or information sufficient to form a belief as

                                                                                                      5
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     to the truth of the allegations contained in Paragraph 20 of Plaintiff’s Complaint and, therefore,

     cannot admit or deny same.

                                                     21.

            Defendant Sanders denies the allegations contained within paragraph 21 of Plaintiff’s

     Complaint.

                                                     22.

            Defendant Sanders denies the allegations contained within Paragraph 22 of Plaintiff’s

     Complaint.

                                                     23.

            Defendant Sanders denies the allegations contained within Paragraph 23 of Plaintiff’s

     Complaint.

                                                     24.

            Defendant Sanders denies the allegations contained within Paragraph 24 of Plaintiff’s

     Complaint.

                                                     25.

            Paragraph 25 calls for a legal conclusion and not an admission of fact and therefore no

     response is required from Defendant Sanders. To any extent that Paragraph 25 calls for a

     response, Defendant Sanders denies the allegations contained within Paragraph 25 of Plaintiff’s

     Complaint, as pled.

                                                     26.

            Paragraph 26 calls for a legal conclusion and not an admission of fact and therefore no

     response is required from Defendant Sanders. To any extent that Paragraph 26 calls for a

     response, Defendant Sanders denies the allegations contained within Paragraph 26 of Plaintiff’s



                                                                                                          6
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     Complaint.



                                                Count 3
                              Negligent Hiring, Training and Supervision

                                                   27.

            Defendant Sanders incorporates by reference its responses to Paragraphs 1 – 26 of

     Plaintiff’s Complaint.

                                                   28.

            Defendant Sanders denies the allegations contained within Paragraph 28 of Plaintiff’s

     Complaint.

                                                   29.

            Defendant Sanders denies the allegations contained within Paragraph 29 of Plaintiff’s

     Complaint.

                                                   30.

            Defendant Sanders denies the allegations contained within Paragraph 30 of Plaintiff’s

     Complaint.

                                                   31.

            Paragraph 31 calls for a legal conclusion and not an admission of fact and therefore no

     response is required from Defendant Sanders. To any extent that Paragraph 31 calls for a

     response, Defendant Sanders denies the allegations contained within Paragraph 31 of Plaintiff’s

     Complaint.

                                                   32.

            Paragraph 32 calls for a legal conclusion and not an admission of fact and therefore no

     response is required from Defendant Sanders. To any extent that Paragraph 32 calls for a

                                                                                                       7
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     response, Defendant Sanders denies the allegations contained within Paragraph 32 of Plaintiff’s

     Complaint.


                                                         Count 51
                                                         Damages

                                                               33.

                Defendant AAI incorporates by reference its responses to Paragraphs 1 – 32 of Plaintiff’s

     Complaint.

                                                               34.

                Paragraph 34 calls for a legal conclusion and not an admission of fact and therefore no

     response is required from Defendant Sanders. To any extent that Paragraph 34 calls for a

     response, Defendant Sanders denies the allegations contained within Paragraph 34 of Plaintiff’s

     Complaint.

                                                               35.

                Paragraph 35 calls for a legal conclusion and not an admission of fact and therefore no

     response is required from Defendant Sanders. To any extent that Paragraph 35 calls for a

     response, Defendant Sanders denies the allegations contained within Paragraph 35 of Plaintiff’s

     Complaint.

                                                               36.

                Paragraph 36 calls for a legal conclusion and not an admission of fact and therefore no

     response is required from Defendant Sanders. To any extent that Paragraph 36 calls for a

     response, Defendant Sanders denies the allegations contained within Paragraph 36 of Plaintiff’s

     Complaint.



     1
         The Complaint does not appear to contain a Count 4.

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                                                      37.

            Paragraph 37 calls for a legal conclusion and not an admission of fact and therefore no

     response is required from Defendant Sanders. To any extent that Paragraph 37 calls for a

     response, Defendant Sanders denies the allegations contained within Paragraph 37 of Plaintiff’s

     Complaint.

                                                      38.

            Defendant Sanders denies each and every allegation set forth in Plaintiff’s Complaint to

     which it has not previously responded, including, but not limited to, the allegations set forth in

     the prayer for relief Paragraph, including subparagraphs (a) through (e).

     DEFENDANT HEREBY DEMANDS A TRIAL BY JURY OF TWELVE REGARDING ANY

                       ISSUES NOT SUBJECT TO SUMMARY ADJUDICATION.

            Respectfully submitted this 24th day of June, 2022


                                                            DREW ECKL & FARNHAM, LLP

                                                             /s/Franklin T. Coleman, IV
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                                     CERTIFICATE OF SERVICE

              I hereby certify that I have this day served a copy of the within and foregoing ANSWER

     AND DEFENSES OF ALBANY AND ALABAMA INDUSTRIES, INC. using the Court’s

     electronic filing system, which automatically sends notice to the following counsel of record:

                                           R. Walker Garrett
                                     Morgan & Morgan Atlanta, PLLC
                                         408 12th St. – Suite 200
                                          Columbus, GA 31901
                                       wgarrett@forthepeople.com

     and via electronic mail.



              This 24th day of June, 2022


                                                          DREW ECKL & FARNHAM, LLP

                                                           /s/Franklin T. Coleman, IV
                                                          Franklin T. Coleman, IV
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